       Case 4:19-cv-00481-JCH Document 74 Filed 12/16/21 Page 1 of 3




1     Jacqueline P. Rubin (admitted pro hac vice)       Lee Gelernt (admitted pro hac vice)
      PAUL, WEISS, RIFKIND,                             AMERICAN CIVIL LIBERTIES
2     WHARTON & GARRISON LLP                            UNION FOUNDATION
      1285 Avenue of the Americas                       IMMIGRANTS’ RIGHTS PROJECT
3     New York, NY 10019                                125 Broad Street, 18th Floor
      (212) 373-3000                                    New York, NY 10004
4     jrubin@paulweiss.com                              (212) 549-2660
                                                        lgelernt@aclu.org
5     Attorneys for Plaintiffs
6     (Additional Counsel for Plaintiffs Listed on Signature Page)
7                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF ARIZONA
8

9    A.I.I.L., et al.,                                     No. CV-19-00481-TUC-JCH
10                            Plaintiffs,                  MOTION TO LIFT ABEYANCE
11                          -v-
12   Jefferson Beauregard Sessions III, et al.,
13                            Defendants.
14

15           Plaintiffs respectfully submit this motion to lift the Order to hold this action in
16   abeyance that this Court issued on November 19, 2021. (Dkt. 73). In total, this action has
17   been held in abeyance since June 1, 2021, to facilitate settlement discussions between
18   Plaintiffs and the United States. Those settlement discussions have reached an impasse,
19   and Plaintiffs accordingly respectfully request that this Court lift the abeyance. The United
20   States and the Individual Defendants consent to this request.
21

22           Dated this 16th day of December, 2021.
23

24    By: /s/ Jacqueline P. Rubin
          Jacqueline P. Rubin                       Lee Gelernt
25        (admitted pro hac vice)                   (admitted pro hac vice)
26        Geoffrey R. Chepiga                       Anand Balakrishnan
          (admitted pro hac vice)                   (admitted pro hac vice)
27        Steven C. Herzog                          Daniel A. Galindo
28
          (admitted pro hac vice)                   (admitted pro hac vice)


                                                  -1-
     Case 4:19-cv-00481-JCH Document 74 Filed 12/16/21 Page 2 of 3



        Hallie S. Goldblatt              AMERICAN CIVIL LIBERTIES
1
        (admitted pro hac vice)          UNION FOUNDATION
2       PAUL, WEISS, RIFKIND,            IMMIGRANTS’ RIGHTS PROJECT
        WHARTON & GARRISON LLP           125 Broad Street, 18th Floor
3       1285 Avenue of the Americas      New York, NY 10004
4       New York, NY 10019               (212) 549-2660
        (212) 373-3000
5       jrubin@paulweiss.com             Stephen Kang
                                         (admitted pro hac vice)
6
        Alexander A. Reinert             Spencer Amdur
7       (admitted pro hac vice)          (admitted pro hac vice)
        55 Fifth Avenue, Room 1005       AMERICAN CIVIL LIBERTIES
8       New York, NY 10003               UNION FOUNDATION
9       (646) 592-6543                   IMMIGRANTS’ RIGHTS PROJECT
                                         39 Drumm Street
10                                       San Francisco, CA 94111
                                         (917) 620-3555
11

12                                       Christine Keeyeh Wee
                                         ACLU FOUNDATION OF ARIZONA
13                                       P.O. Box 17148
14                                       Phoenix, AZ 85011
                                         (602) 650-1854
15
                                         Attorneys for Plaintiffs A.I.I.L., on behalf
16
                                         of herself and her minor children,
17                                       J.A.H.I. and M.E.H.I.; L.L.H.O., on
                                         behalf of herself and her minor child,
18                                       K.E.O.H.; J.L.V.A., on behalf of himself
19                                       and his minor child, D.S.V.H.; J.I.S., on
                                         behalf of himself and his minor child,
20                                       B.L.S.P.; and J.J.P.B., on behalf of
                                         himself and his minor child, A.E.P.F.
21

22

23                                       December 16, 2021
24

25

26

27

28


                                       -2-
       Case 4:19-cv-00481-JCH Document 74 Filed 12/16/21 Page 3 of 3




1                                  CERTIFICATE OF SERVICE
2           I hereby certify that on December 16, 2021 I caused the attached document to be
3    electronically transmitted to the Clerk’s office using the CM/ECF System for filing. Notice
4    of this filing will be sent by e-mail to all parties by operation of the Court’s electronic filing
5    system or by mail as indicated on the Notice of Electronic Filing.
6

7                                                                /s/ Jacqueline P. Rubin
                                                                 Jacqueline P. Rubin
8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


                                                   -3-
